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                         fIN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (___)

                                   Debtors. 1                          (Joint Administration Requested)


                   DECLARATION OF LORIE BEERS IN SUPPORT OF
                MOTION OF DEBTORS FOR INTERIM AND FINAL ORDERS
            (I) AUTHORIZING THE DEBTORS (A) TO OBTAIN POSTPETITION
         FINANCING AND (B) TO UTILIZE CASH COLLATERAL, (II) GRANTING
            ADEQUATE PROTECTION TO PREPETITION SECURED PARTIES,
         (III) MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING A FINAL
                   HEARING, AND (V) GRANTING RELATED RELIEF

                  I, Lorie Beers, hereby declare under penalty of perjury that the following is true to the

best of my knowledge, information, and belief:

         1.       I am a Managing Director and the Head of Special Situations at Intrepid Investment

Bankers LLC (“Intrepid”), the proposed investment bankers to the above-captioned debtors and

debtors in possession (the “Debtors”).

         2.       I submit this Declaration in support of the Motion of Debtors for Interim and Final

Orders (I) Authorizing the Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash

Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties; (III) Modifying the

Automatic Stay, (IV) Scheduling a Final Hearing; and (VI) Granting Related Relief (the “Motion”)

and the financing package proposed therein (the “DIP Facility”).2



1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris, Inc.’s,
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, California 94608.

2
    A capitalized term used but not defined herein shall have the meaning ascribed to it in the Motion.



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         3.       Except as otherwise indicated, all statements set forth in this Declaration are based

upon (a) my personal knowledge of Debtors’ operations and finances gleaned during the course of

Intrepid’s engagement with Debtors, (b) my discussions with Debtors’ senior management, other

members of the Intrepid team and Debtors’ other advisors, and (c) my review of relevant documents

and/or my opinion based upon my experience. If I were called upon to testify, I could and would

testify competently to the facts set forth herein based on such personal knowledge, discussions,

review of documents and/or opinion.

                              BACKGROUND AND QUALIFICATIONS

         4.       I am a Managing Director and the Head of Special Situations at Intrepid. Intrepid is a

specialty investment bank that provides M&A advisory, capital markets advisory, and special

situations advisory services to a range of institutions including major corporations, private equity

sponsors, and entrepreneur and family-owned companies, , through dedicated industry banking teams

and product specialists. The firm’s professionals have significant knowledge and expertise within

relevant industries, having advised clients on a broad range of strategic transactions. I have over 35

years of professional experience that encompasses the full spectrum of financial restructuring. Prior

to joining Intrepid, I was the founder and Group Head of Special Situations Investment Banking at

Cowen. I have also held senior banker roles at StormHarbour Securities, Variant Capital Advisors,

Seabury Group, KPMG Corporate Finance and Gordian Group. I began my career as a bankruptcy

attorney and was a partner at Kasowitz, Benson, Torres & Friedman.

         5.       Intrepid has a dedicated capital advisory group, whose special situations professionals

have extensive expertise providing investment banking services to financially distressed companies,

creditors, committees, equity holders, asset purchasers, and other constituencies in reorganization

proceedings and complex financial restructurings, both in and out of court. Intrepid’s professionals




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have served as investment bankers and/or financial advisors in numerous chapter 11 cases, including

but not limited to: In re Tritek Int’l, Inc., No. 23-10520 (TMH) (Bankr. D. Del. June 8, 2023)

(advising debtor); In re Watsonville Hospital Corp., No. 21-51477 (Bankr. N.D.C.A. Dec. 5, 2021)

(advising debtor); In re Aluminum Shapes, LLC, No. 21-16520 (JNP) (Bankr. D.N.J. Oct. 8, 2021)

(advising debtor); In re Garrett Motion Inc., No. 20-12212 (Bankr. S.D.N.Y. Feb. 5, 2021) (advising

Official Equity Committee); In re Carla’s Pasta, Inc., No. 21-20111 (Bankr. D. Conn. Mar. 22, 2021)

(advising debtors); In re Mishti Holdings, LLC, No. 1911813 (CSS) (Bankr. D. Del. Dec. 16, 2019)

(advising debtors); In re Sienna Biopharmaceuticals, Inc., No. 19-12051 (MFW) (Bankr. D. Del. Oct.

15, 2019) (advising debtor).

                       DIP MARKETING EFFORTS AND FINANCING NEED

         6.       In July 2023, the Debtors engaged Intrepid as investment banker. I lead the Intrepid

team and, working closely with Debtors’ management and other advisors, I have become well

acquainted with Debtors’ capital structure, liquidity needs, and business operations.

         7.       Following its engagement, Intrepid, with assistance of the Debtors and their other

advisors, considered potential sources of financing that would provide the liquidity necessary to fund

the Debtors’ chapter 11 cases. As part of this process, Intrepid solicited proposals for debtor in

possession financing by contacting approximately twenty (20) well-established and experienced

third-party financial institutions and other capital sources. Such parties included lenders that often

make loans in distressed and bankruptcy situations and have the capital necessary to provide adequate

financing to the Debtors. Of these parties, seven (7) executed non-disclosure agreements and

accessed information made available by Intrepid for prospective financing purposes.

         8.       To this date, the foregoing efforts have not surfaced any actionable financing

proposals from any third parties. The Debtors received an offer from the Foris Prepetition Lenders




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to provide postpetition financing necessary, and to authorize the use of Cash Collateral, to fund the

Debtors’ operations during the chapter 11 cases on a senior secured basis.

         9.       The DIP Facility and the authorization to use Cash Collateral as offered by the Foris

Prepetition Lenders are the best financing options that the Debtors could obtain. Fully unsecured

postpetition financing was not available to Debtors. Other potential sources of debtor in possession

financing for Debtors, including on a junior secured basis, were also nonexistent. However, as noted

above, the Debtors were able to obtain (i) financing from the Foris Prepetition Lenders on the terms

of the proposed DIP Facility and (ii) consent of the Foris Prepetition Lenders’ to use Cash Collateral

on the terms set forth in the Motion.

         10.      Based on my experience and involvement in the negotiation of the DIP Facility, I

believe that the DIP Facility, together with the use of Cash Collateral, is the best available option for

the Debtors, in the best interest of Debtors’ estates and stakeholders, and is necessary and appropriate

under the circumstances. As such, in my opinion, the DIP Facility should be approved and Debtors

should be authorized to use Cash Collateral.

                                            CONCLUSION

         11.      For all of the reasons set forth herein and in the Motion, I believe that obtaining

postpetition financing in accordance with the terms of the proposed DIP Facility and Debtors’ use of

Cash Collateral is absolutely essential to Debtors’ ability to minimize disruption and avoid immediate

and irreparable harm to their estates.




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         12.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that, to the best of my

knowledge and after reasonable inquiry, the foregoing is true and correct.



Dated: August 9, 2023
                                                                /s/ Lorie Beers
                                                                Lorie Beers

                                                                Managing Director and the Head of
                                                                Special Situations at Intrepid
                                                                Investment Bankers LLC




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